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 6
     Attorneys for Plaintiffs
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10   VIRGINIA DUNCAN, et al.,                    Case No: 17-cv-1017-BEN-JLB
11                              Plaintiffs,      PLAINTIFFS’ EX PARTE
12                                               APPLICATION FOR ORDER
                         v.                      EXTENDING PAGE LIMITATION
13
     XAVIER BECERRA, in his official
14   capacity as Attorney General of the State
     of California,
15
                                Defendant.
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        EX PARTE APPLICATION FOR ORDER EXTENDING PAGE LIMITATION
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD
 2          Notice is hereby given that on December 1, 2022, Plaintiffs Virginia Duncan,
 3   Richard Lewis, Patrick Lovette, David Marguglio, Christopher Waddell, and California
 4   Rifle & Pistol Association, Incorporated, (“Plaintiffs”) will apply ex parte to this Court
 5   for an order extending the page limit for their supplemental brief in response to the
 6   Court’s Order of September 26, 2022.
 7          At 10:20 a.m., on November 30, 2022, Plaintiffs’ counsel contacted Deputy
 8   Attorneys General Robert D. Meyerhoff and John D. Echeverria, counsel of record for
 9   Defendant Attorney General Xavier Becerra in this matter. Barvir Decl. ¶ 2. Plaintiffs’
10   counsel was subsequently directed to Deputy Attorney General Kevin Kelly because
11   Mr. Meyerhoff is currently on leave. Id. Mr. Kelly informed me that his client’s
12   position is that “Local Rule 7.1(h) does not apply to limit the length of the court-
13   ordered briefing, since that rule pertains to briefs ‘in support of or in opposition to
14   motions’ and there is no pertinent motion currently pending before the Court.” Id. ¶ 3.
15   That said, Mr. Kelly indicated that his client would not oppose Plaintiffs’ request for
16   an order extending the page limitation. Id.
17          Plaintiffs bring this application for good cause on the grounds that they require
18   more than 25 pages to address the issues the State raised in its 63-page supplemental
19   brief, and they will face irreparable harm if relief is not granted because they will be
20   denied the ability to counter many of the arguments in the State’s oversized brief. Id. ¶
21   4. Further, Plaintiffs could not bring a fully noticed motion because the Court ordered
22   Plaintiffs to file their supplemental brief just 21 days after the State filed its brief.
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        EX PARTE APPLICATION FOR ORDER EXTENDING PAGE LIMITATION
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 1         This application is based on the memorandum of points and authorities and the
 2   declaration of Anna M. Barvir filed simultaneously herewith, as well as all the records
 3   currently on file and any oral argument that this Court may authorize.
 4
 5   Dated: December 1, 2022                      MICHEL & ASSOCIATES, P.C.
 6
                                                  s/ Anna M. Barvir
 7                                                Anna M. Barvir
                                                  Email: abarvir@michellawyers.com
 8                                                Attorneys for Plaintiffs
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        EX PARTE APPLICATION FOR ORDER EXTENDING PAGE LIMITATION
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: 17-cv-1017-BEN-JLB
 5
     IT IS HEREBY CERTIFIED THAT:
 6
 7          I, the undersigned, declare under penalty of perjury that I am a citizen of the
     United States over 18 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, described as:
10
11   PLAINTIFFS’ EX PARTE APPLICATION FOR ORDER EXTENDING PAGE
                             LIMITATION
12
13   on the following parties by electronically filing the foregoing on December 1, 2022,
     with the Clerk of the District Court using its ECF System, which electronically
14
     notifies them.
15
     Rob Bonta
16
     Attorney General of California
17   Mark R. Beckington
     Supervising Deputy Attorney General
18
     Kevin J. Kelly
19   Deputy Attorney General
     300 South Spring Street, Suite 1702
20
     Los Angeles, CA 90013
21   kevin.kelly@doj.ca.gov
22
23        I declare under penalty of perjury that the foregoing is true and correct.
     Executed on December 1, 2022, at Long Beach, CA.
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26
                                                         Laura Palmerin
27
28
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                                 CERTIFICATE OF SERVICE
                                                                                       17cv1017
